     STEVEN B. PLESSER (SBN 161615)
 1   REICHEL & PLESSER LLP
 2
     455 Capitol Mall, Ste. 350
     Sacramento, CA. 95814
 3   Tel. (916) 498-9258
     Fax (916) 441-6553
 4
     E-Mail: steve@reichellaw.com
 5
     Attorney for Defendant
 6   GONZALO ESQUIVEL

 7
                           IN THE UNITED STATES DISTRICT COURT FOR THE
 8
                                 EASTERN DISTRICT OF CALIFORNIA
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10
     UNITED STATES OF AMERICA,                      )       No. 1:11-cr-00188-LJO
11                                                  )
                                                    )       STIPULATION AND ORDER
              Plaintiff,                            )       CONTINUING SENTENCING HEARING
12
                                                    )       & BRIEFING SCHEDULE FOR
13   v.                                             )       OBJECTIONS TO PSR
                                                    )
14   GONZALO ESQUIVEL,et al                         )
                                                    )       Proposed Date: Nov. 4, 2013.
15                                                  )       Judge: Honorable Lawrence J. O’Neill
              Defendant.                            )
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              IT IS HEREBY stipulated between the United States of America through its undersigned
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     counsel, Kimberly Sanchez, Assistant United States Attorney, attorney for plaintiff, together
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     with Steven Plesser, attorney for defendant Gonzalo Esquivel, that the previously-scheduled
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     sentencing date of September 30, 2013 and associated briefing schedule for objections to the
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     PSR be vacated, and that the matter be set for sentencing on November 4 with a new briefing
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     schedule as follows: informal objections due 10/14; final PSR due 10/21; formal objections due
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     10/28.
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              This continuance is requested to allow defense counsel additional time to arrange for
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     defendant’s transportation from Bakersfield (Lerdo facility) to U.S. Marshal’s lock-up in Fresno
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     to confer with counsel prior to responding to the draft PSR. The draft PSR was not made
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     available until 08/26/13 and defense counsel has not had a free day to travel to Fresno to confer


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 1   with defendant in the limited time since it was made available. Defense counsel’s schedule has
 2   been unusually burdened because defense counsel missed several weeks of work in July and
 3   August due to an injury suffered to his cervical spine and is only recently fully back to work.
 4   As such, defense counsel has three jury trials scheduled before the end of October and is
 5   diligently preparing for the trials and catching up on missed work. The prosecution also
 6   anticipates being in trial during the month of October.
 7                            Accordingly, the parties respectfully request the Court adopt this proposed stipulation.
 8   IT IS SO STIPULATED
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     Dated: October 3, 2011                                                         /s/ Steven B. Plesser
10                                                                                  STEVEN PLESSER
                                                                                    Attorney for Defendant
11                                                                                  GONZALO ESQUIVEL
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     Dated: October 3, 2011                                                by:      /s/ Steven B. Plesser for
13                                                                                  KIMBERLY SANCHEZ
                                                                                    Assistant U.S. Attorney
14                                                                                  United States Attorney’s Office
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                                                                                    Attorney for Plaintiff
                                                                    ORDER
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                              The Court, having received, read, and considered the stipulation of the parties, and good
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     cause appearing therefrom, adopts the stipulation of the parties in its entirety as its Order.
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     Based on the stipulation of the parties and the recitation of facts contained therein, the Court
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     finds additional time is appropriate for defense counsel to prepare objections to the PSR and
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     finds it is appropriate to continue the date for Sentencing.
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                              The Court orders as follows: the Sentencing hearing is continued until November 4,
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     2013; informal objections to the draft PSR are due October 14, 2013; the final PSR is due
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     October 21, 2013; formal objections to the PSR are due October 28, 2013.
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     IT IS SO ORDERED.
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                           Dated:   September 6, 2013                            /s/ Lawrence J. O’Neill
     DEAC_Signature-END:
                                                                           UNITED STATES DISTRICT JUDGE


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